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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
CITIBANK, N.A., NOT IN ITS INDIVIDUAL      )
CAPACITY, BUT SOLELY AS SEPARATE           )
TRUSTEE FOR PMT NPL FINANCING              )
2015-1,                                    )
                                           )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )    Case No. 14-13593-GAO
                                           )
RENEE ANNA NAJDA et al.,                   )
                                           )
       Defendants,                         )
                                           )
v.                                         )
                                           )
SANTANDER BANK N.A. f/k/a SOVEREIGN        )
BANK,                                      )
                                           )
       Party-in-Interest,                  )
__________________________________________)
                                           )
RENEE ANNA NAJDA et. al.,                  )
                                           )
       Defendants/Counterclaim Plaintiffs, )
                                           )
v.                                         )
                                           )
CITIBANK, N.A. AS TRUSTEE FOR              )
THE BENEFIT OF SWDNSI TRUST                )
SERIES 2010-3, et al.,                     )
                                           )
       Counterclaim Defendants.            )
__________________________________________)

                  NOTICE OF APPEARANCE OF DANIEL M. CURRAN

       Please enter the appearance of Daniel M. Curran of Nelson Mullins Riley & Scarborough

LLP, One Financial Center, Suite 3500, Boston, MA 02111 as counsel for Plaintiff Citibank, N.A.,

not in its individual capacity, but solely as separate trustee for PMT NPL Financing 2015-1 in the

above-captioned matter.
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                                                      Respectfully Submitted,

                                                      Plaintiff Citibank, N.A., not in its individual
                                                      capacity, but solely as separate trustee for
                                                      PMT NPL Financing 2015-1,

                                                      By its attorneys,

                                                      /s/ Daniel M. Curran
                                                      Daniel M. Curran, Esq. (BBO #709082)
                                                      daniel.curran@nelsonmullins.com
                                                      Nelson Mullins Riley & Scarborough LLP
                                                      One Financial Center, Suite 3500
                                                      Boston, Massachusetts 02111
                                                      p. (617) 217-4700
Dated: January 26, 2023                               f. (617) 217-4710



                                 CERTIFICATE OF SERVICE

        I, Daniel M. Curran, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on this date.

Dated: January 26, 2023                                       /s/ Daniel M. Curran
                                                              Daniel M. Curran




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